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AQ 98 (Rev. 12/11) Appearance Bond wee Tf
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SOLIMENT

UNITED STATES DISTRICT COURT. sac ALLy PILED

 

 
   

 

for the .
apy ie
Southern District of New York DOC #
—— a ATE FILED:
United States of America ) DAIS Te re
v. )
) 18 CR 567 (VSB)
CHRISTOPHER COLLINS )
Defendant )
APPEARANCE BOND
Defendant’s Agreement
L CHRISTOPHER COLLINS (defendant), agree to foilow every order of this court, or any

 

court that considers this case, and I further agree that this bond may be forfeited if J fail:
( EX] ) to appear for court proceedings;
(1) if convicted, to surrender to serve a sentence that the court may impose; or
( &] } to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond
(& ) (1) This is a personal recognizance bond.

( X) (2) This is an unsecured bond of $ _ $500,000.00

 

(LJ) (3) This is a secured bond of $ _ , secured by:

 

(Ay @ms | , in cash deposited with the court.

(C1) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on if — such as a lien, mortgage, or loan — and attach proof of
ownership and value):

 

 

 

If this bond is secured by real property, documents te protect the secured interest may be filed of record,

(LJ) (c) a bail bond with a solvent surety (atiach a copy of the bail bond, or describe it and identify the surety):

 

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

 
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Page 2

AO 98 (Rev. 12/E1} Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. I, the defendant — and each surety — declare under penalty of perjury that:

(i) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety — have read this appearance bond and have either read all the conditions of
release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)

Date: 8/8/18 Abs fe - v ue

Defendant CHRASTOPHER COLLINS si signature

 

 

 

 

Suretyéproperty owner — printed name Surety/property owner — signature and date

Surehyproperty owner — printed name Surety/property owner — signature and date

Surety/property owner -- printed name Surety/property owner — signature and date
CLERK OF COURT

 

 

    
 

Date: 8/8/18 . 3 ;
“ Papas of Clerk or Deputy Clerk | a

Approved. Lo | EP

Date; 8/8/18 _—

 

AUSA § T HARTMAN signature

 
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AO 199A (Rey, 12/11) Order Setting Conditions of Release Page 1 of ____ Pages

 

UNITED STATES DISTRICT COURT

for the

Southern District of New York

United States of America
v.

CaseNo. 18 CR 567 (VSB)
CHRISTOPHER COLLINS

Defendant

 

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ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a,

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

 

 

Place

 

on

 

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/11) Additional Conditions of Release Page of _ Pages

ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(43) (6) The defendant is placed in the custody of:
Person or organization

 

Address (only ifabove isan organization)
City and state Tel, No,

who agrees to {a} supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Signed: rn
Custodian Date
(BG) (7) The defendant must:

( ) (a) submit to supervision by and report for supervision to the :
telephone number , no fater than

{( ) {b) continue or actively seek employment. -

(L1} (c) continue or start an education program.

(&]) (d} surrender any passport to: PRETRIAL SERVICES

(EX) ) (e} not obtain a passport or other international travel document.

(E1)} (6 abide by the following restrictions on personal association, residence, or travel: CONTINENTAL US,

(C1) @) avoid all contact, directly or indirectly, with any person whe is or may be a victim or witness in the investigation or prosecution,
including:

(1} ‘pet medical or psychiatric treatment;

(1) Gi) return to custody each at o’clock after being released at o’clock for employment, schooling,
or the following purposes: a oO — _

(11) @ > maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

( X ) (k) not possess a firearm, destructive device, or other weapon.

(LJ) ) notuse alcohol( [1 )atall¢ () ) excessively.

(LJ) Gn) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

( ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or lamper with the efficiency and
accuracy of prohibited substance screening or testing.

(1) (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

{ ) (p) participate in one of the following location restriction programs and comply with its requirements as directed,

(L]) (i) Curfew. You are restricted to your residence every day( L]) from __ to ___,or (C] }as
directed by the pretrial services office or supervising officer; or

(£1) (ii) Home Detention. You are restricted to your residence at all times except for employment, education; religious services;
medical, substance abuse, or mental health treatment; attorney visits, court appearances, court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer, or

(L] } (ii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

((1]) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.

(C] } You must pay all or part of the cost of the program based on your abilily to pay as determined by the pretrial services office or
supervising, officer.

((1) (f) repert as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including

arrests, questioning, or traffic stops.

 
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ADDITIONAL CONDITIONS OF RELEASE

(1) (s) $500,000.00 PRB; CO-SIGNED BY 2 FRP’S; TRAVEL LIMITS INCLUDE THE CONTINENTAL U.S.; TRAVEL
DOCUMENTS ARE TO BE SURRENDERED TO PRETRIAL SERVICES; EXCEPT AS SET FORTH BELOW;
DEFENDANT IS TO SURRENDER HIS DIPLOMATIC PASSPORT TO DEFENSE COUNSEL FOR
SAFEKEEPING UNTIL FURTHER NOTICE; SURRENDER OF ANY FIREARMS TO LOCAL LAW
ENFORCEMENT FOR SAFEKEEPING; DEFENDANT IS TO BE RELEASED UPON OWN SIGNATURE;
DEFENDANT HAS 14 DAYS TO MEET THE CONDITIONS SPECIFIED SUBJECT TO EXTENSION UPON
APPLICATION TO THE COURT.

 

 

 

 
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AO £99C (Rev. 09/08) Advice of Penalties Page (“asi ssi Pages

 

ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT; CHRISTOPHER COLLINS 18 CR 567 (VSB) 8/8/18
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both,

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten

years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive,

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both,

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony ~ you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant
I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all

conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.

DEFENDANT RELEASED

     
    

Defendan CHRISTOPHER CO

 

 

LLINS Signature

 

City and State

Directions to the United States Marshal

( L1) The defendant is ORDERED released after processing.

( (1) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified.

Date;

 

 

Judicial Officer's Signature

 

Printed name and title
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AO 199C (Rev. 09/08) Advice of Penalties Page of Pages

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE U.S.ATTORNEY U.S. MARSHAL

Scuthern District of Mew York

The Eronx
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Cutchess
Crange
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Sullivan

  
 
 
 
 
 
 
 
 
 
 
 
 
 

Eastern District ef New York

Ercekivn (Kings Ccunity}
Queens (Cucens County)
Staten Kland (hichimcnd Ceunty}
Long island (Nassau & Suaffcik)

  

 

 

 
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DOCKET No. 18-CR-567 (VSB) DEFENDANT Christopher Collins
AUSA Max Nicholas BreS COUNSEL (ud\ wun Barr
LRETAINED T) reperaL DEFENDERS Cicsa CJ PRESENTMENT ONLY
0 __ __ INTERPRETER NEEDED
[J] DEPENDANT WAIVES PRETRIAL REPORT

i Rules CRvle9 Cl Rule 5(c}(3) MO Detention Hre, = DATE OF ARREST 8/8/2018 Vi VOL, SURR.

TIME OF ARREST + fax 0 on wrir
CJ Other: Pano Sgan er TIME OF PRESENTMENT 2:30 pin

BAIL DISPOSITION

 

LISEE SEP. ORDER
[J DBTENTION ON CONSENT W/O PREJUDICE CIDETENTION: RISK OF FLIGHT/DANGER CISEE TRANSCRIPT
(DETENTION HEARING SCHEDULED FOR:
AGREED CONDITIONS OF RELEASE
DEF. RELEASED ON OWN RECOGNIZANCE
is 500,000 pRB fd & PRP
[1] SECURED BY $_ _._. CASH/PROPERTY:
it TRAVEL RESTRICTED TO SDNY/EDNY/ Condhucmaat AS
FITEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
($f SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

CIPRETRIAL SUPERVISION: EIT REGULAR USTRICT (AS DIRECTED BY PRETRIAL SERVICES
C1] DRUG TESTING/TREATMT AS DIRECTED BY PTS CO MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
Cl DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

 

CIHOME INCARCERATION [HOME DETENTION Ocurrew CIELECTRONIC MONITORING [GPS
[) DEF, TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

C1 DER. TO CONTINUE OR SHEK EMPLOYMENT [OR] [IDEP, TO CONTINUE OR START EDUCATION PROGRAM
Sf DEF, NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON ~ Guyana “tt oak \axa argo ee sOrch

(J DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
BADEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: .
| REMAINING CONDITIONS TO BE MET BY: Z2 lig

 

 

 

 

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

Defendant pled nol guilty to Pounts__ on the indictment.
ra
Syuverdoy Kip larrade Varsravs -b defense cam

Ni DEF. ARRAIGNED; PLEADS NOT GUILTY CI CONFERENCE BEFORE D.1, ons efte-
(4 DEF. WAIVES INDICTMENT
Cl SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. §3161(h)(7) UNTIL

For Rule 5(c)f(3} Cases:
LIIDENTITY HEARING WAIVED (1 DEFENDANT TO BE REMOVED

C1 PRELIMINARY HEARING IN SDNY WAIVED Ci CONTROL DATE FOR REMOVAL:

 

PRELIMINARY HEARJNG DATE: _ {.] ON DEFENDANT'S R SENT
: a

DATE: & / & 0 b—

pi > NN
v UNITED STATES DISTRICT JUDGE

 
